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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

                                   MEDFORD DIVISION


In re the Matter of J.P. and E.P:

ARNAUD PARIS,                                            Civ. No. 1:24-cv-00648-AA

                     Petitioner,                             ORDER
                v.

HEIDI MARIE BROWN,

                  Respondent.
_______________________________________

AIKEN, District Judge.

        On May 14, 2024, Petitioner filed an ex parte motion captioned “Ex

Parte Petitioner’s Emergency Motion and Declaration for Child Welfare Check and

Direct Unsupervised Daily Communication with Father.” ECF No. 17.

      The motion was improperly filed ex parte. “Ex parte motions are [generally]

disfavored” and are permitted only in a narrow set of circumstances. See Ayestas v.

Davis, 584 U.S. 28, 40-41 (2018) (listing specific circumstances when ex parte motions

are either statutorily allowed or otherwise procedurally appropriate); see also United

States v. Real Prop. Located at 22 Santa Barbara Drive, 264 F.3d 860, 870 (9th Cir.

2001) (citing In re Intermagnetics Am., Inc., 101 B.R. 191, 193-94 (C.D. Cal. 1989)

(providing a comprehensive assessment of why ex parte motions are disfavored and

should rarely be allowed). Counsel for Respondent has appeared in the case, ECF




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No. 16, and will be permitted to respond to the motion. The Court therefore directs

the Clerk’s Office to unseal Petitioner’s motion, ECF No. 17.

      It is so ORDERED and DATED this          16th     day of May 2024.


                                        /s/Ann Aiken
                                       ANN AIKEN
                                       United States District Judge




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